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          15
                                              UNITED STATES DISTRICT COURT
          16
                                             NORTHERN DISTRICT OF CALIFORNIA
          17

          18     IN RE METAL PIXEL HEALTHCARE                    Case No. 3:22-cv-3580-WHO
                 LITIGATION,
          19                                                     DEFENDANT META PLATFORMS, INC.’S
                                                                 ADMINISTRATIVE MOTION TO
          20                                                     CONSIDER WHETHER CASES SHOULD
                                                                 BE RELATED
          21     This Document Relates To:
                                                                 CLASS ACTION
          22     All Actions

          23

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Gibson, Dunn &
Crutcher LLP
                           DEFENDANT META PLATFORMS, INC.’S ADMINISTRATIVE MOTION TO CONSIDER
                               WHETHER CASES SHOULD BE RELATED - CASE NO. 3:22-CV-3580-WHO
            Case 3:22-cv-03580-WHO Document 74 Filed 10/17/22 Page 2 of 3


1    TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
2            Pursuant to Local Rules 3-12 and 7-11 of the United States District Court for the Northern
3    District of California, and this Court’s October 12, 2022 Order, counsel for Defendant Meta Platforms,
4    Inc. (“Meta”) submits this Administrative Motion to consider whether Malinda S. Smidga v. Meta
5    Platforms, Inc. f/k/a Facebook, Inc., The University of Pittsburgh Medical Center d/b/a UPMC
6    (“Smidga”), Case No. 4:22-CV-05753-KAW, transferred to this District on October 5, 2022, should be
7    related to the above-captioned action, In re Meta Pixel Healthcare Litigation, Case No. 3:22-cv-3580-
8    WHO (the “Consolidated Action”)
9            Under Civil Local Rule 3-12(a), “[a]n action is related to another when: (1) [t]he actions
10   concern substantially the same parties, property, transaction, or event; and (2) [i]t appears likely that
11   there will be an unduly burdensome duplication of labor and expense or conflicting results if the cases
12   are conducted before different judges.”
13           The plaintiffs in the Consolidated Action and the Smidga plaintiffs, as well as Dignity Health
14   Medical Foundation and UCSF Medical Center, have no objection to this motion to relate. (See
15   Goldman Decl. ¶ 3.)
16     I.    STATEMENT OF RELEVANT FACTS
17           On October 12, 2022, this Court granted a motion to consolidate four related cases—John Doe
18   v. Meta Platforms, Inc. (“John Doe”), Case No. 3:22-cv-03580-WHO, Jane Doe v. Meta Platforms,
19   Inc. et al. (“Jane Doe I”), Case No. 3:22-cv-04293-WHO, Doe v. Meta Platforms, Inc. (“Doe”), Case
20   No. 3:22-cv-04680-WHO, and Jane Doe v. Meta Platforms, Inc. (“Jane Doe II”), Case No. 3:22-cv-
21   04963-WHO. (See John Doe Dkt. 73.) In its October 12, 2022 Order, this Court directed the parties
22   to “file an Administrative Motion to Consider Whether Cases are Related . . . whenever a related case
23   is filed in, or transferred to, this District.” (Id. at 3.)
24           The consolidated cases (John Doe, Jane Doe I, Doe, Jane Doe II) and Smidga define
25   overlapping putative classes, name Meta as a defendant, involve similar facts, and involve similar
26   causes of action. All five sets of plaintiffs bring parallel claims against Meta, seeking to represent a
27   class of hospital website and online patient portal users who allege their data was collected by Meta
28   through its Pixel tool. All five sets of plaintiffs assert privacy-related claims against Meta.

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                 DEFENDANT META PLATFORMS, INC.’S ADMINISTRATIVE MOTION TO CONSIDER
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1     II.    ARGUMENT
2            Given the significant overlap between these cases, with substantially similar parties,
3    allegations, and requested relief, litigating Smidga separately from the Consolidated Action will require
4    unduly burdensome duplication of labor and expense and risk conflicting results. Particularly because
5    these actions are at a preliminary stage, relating Smidga to the Consolidated Action would save judicial,
6    parties’, and counsel’s resources without prejudicing any party.
7    III.    CONCLUSION
8            Accordingly, Meta respectfully requests that Smidga be related to the Consolidated Action and
9    be reassigned to this Court for all purposes.
10

11   Dated: October 17, 2022                         GIBSON, DUNN & CRUTCHER LLP
12                                                   By: /s/ Lauren R. Goldman
                                                         Lauren R. Goldman
13
                                                     COOLEY LLP
14
                                                     By: /s/ Michael G. Rhodes
15                                                       Michael G. Rhodes
16
                                                     Attorneys for Meta Platforms, Inc. (formerly known as
17
                                                     Facebook, Inc.)
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20                                  CIVIL L.R. 5-1(h)(3) ATTESTATION

21           Pursuant to Civil Local Rule 5-1(h)(3), I, Lauren Goldman, hereby attest under penalty of

22   perjury that concurrence in the filing of this document has been obtained from all signatories.

23

24   Dated: October 17, 2022                         GIBSON, DUNN & CRUTCHER LLP

25                                                   By: /s/ Lauren R. Goldman
                                                         Lauren R. Goldman
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                DEFENDANT META PLATFORMS, INC.’S ADMINISTRATIVE MOTION TO CONSIDER
                     WHETHER CASES SHOULD BE RELATED - CASE NO. 3:22-cv-3580-WHO
